Case 2:03-cr-20415-.]PI\/| Document 156 Filed 08/05/05 Page 1 of 2 Page|D 19}
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IN THE UNITED sTATEs nrsTRIcT coURT _zk
FoR THE wEsTERN DISTRICT oF TENNESSEE DSAUG-S AH|O-
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Lt
UNITED sTATEs oF AMERICA, WD
Plaintiff,
cR. No. 03-20415-02-M1

VS.

JACQUELINE PRADO,

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on August 4, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Jacqueline Prado, appearing ill person and wdth
appointed counsel, Ms. Wanda Abioto.

With leave of the Court, the defendant entered a plea of
guilty to Count 1 of the Superseding Indictment. Plea colloquy was
held and the Court accepted the guilty plea.

Sentencing in this matter is set for Tuesday, November 1, 2005
at 9=00 a.m. before Judge Jon Phipps McCalla.

The defendant is remanded to the custody of the United States

Marshal.

_:::EL day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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UNITED `SETATS DISTRIC COUR - WESTERN D'S'TRCT oFTENNESSEE

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ThiS notice confirms a copy of the document docketed as number 156 in
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August 10, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

